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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

LONE STAR STATE DEVELOPMENT 1,                  §
L.L.C.,                                         §
                                                §
        Plaintiff,                              §
                                                §
and                                             §
                                                §
FINLAY DEVELOPMENT, LLC,                        §
                                                §
        Intervening Plaintiff,                  §
                                                §
v.                                              §   No. 2-09CV-221-J
                                                §
MULTI-HOUSING TAX CREDIT                        §
PARTNERS LII, L.P. and MULTI-                   §
HOUSING INVESTMENTS, L.L.C.,                    §
                                                §
        Defendants, Counter-Claimants and       §
        Third-Party Plaintiff (in the case of   §
        MHI)                                    §
                                                §
v.                                              §
                                                §
CHRISTOPHER FINLAY and                          §
FINLAY HOLDINGS, INC.,                          §
                                                §
        Third-Party Defendants.                 §

                     BRIEF IN SUPPORT OF THIRD-PARTY DEFENDANTS’
                      MOTION TO DISMISS THIRD-PARTY COMPLAINT
                             PURSUANT TO FED. R. CIV. P. 12 (b)

                       CONCURRENCE SOUGHT BUT NOT OBTAINED
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Exhibit A:       HEI Resources East OMG Joint Venture v. S. Lavon Evans, Jr. Operating
                 Co., Inc., 2009 U.S. Dist. LEXIS 81730 (S.D. Tex. Sept. 9, 2009)

Exhibit B:       Affidavit Of Christopher C. Finlay

Exhibit C:       Consent Order Granting Plaintiff’s Motion for Leave To File Amended
                 Complaint dated August 29, 2008, with accompanying First Amended
                 Complaint




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                                    STATEMENT OF ISSUES

        1.      Whether the third-party complaint should be dismissed where this Court does not

have subject-matter jurisdiction.

        2.      Whether the third-party complaint should be dismissed where this Court does not

have personal jurisdiction.

        3.      Whether the third-party complaint should be dismissed where venue in this Court

is improper.

        4.      Whether the Court should decline jurisdiction where venue is inconvenient.

        5.      Whether the third-party complaint should be dismissed where third-party

plaintiff’s claims against the third-party defendants do not state a claim on which relief may be

granted.

        6.      Whether the third-party complaint should be dismissed where Defendant is not

entitled to equitable relief.




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     [It is a fundamental precept of law that a party is not entitled to equitable relief where
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     [Equitable setoff “bring[s] together obligations of the parties opposing each other and,
     by judicial action, makes each obligation extinguish the other.”]

     [The object of equitable setoff is to adjust the demands between the parties and allow
     recovery of the balance due.]

     [In order for equitable setoff to exist, both demands must mutually exist between the
     same parties.]

HEI Resources East OMG Joint Venture v. S. Lavon Evans, Jr. Operating Co., Inc.,
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     [A third-party claim must be derivative of the outcome of the main claim and bring in
     parties that may be liable to the defendant if the defendant is found liable to the
     plaintiff.]

     [Rule 14 does not allow a party to assert an unrelated claim for the purpose of
     offsetting the defendants’ liability to the plaintiff.]

McCain v. Clearview Dodge Sales, Inc.,
  574 F.2d 848 (5th Cir. 1978) ..........................................................................................4, 5, 6, 7

     [A third-party complaint is improper under Rule 14 if “the defendant cannot show a
     basis for the third-party defendant’s liability to the defendant/third-party plaintiff.”]

     [(“[T]he third party must necessarily be liable over to defendant for all or part of
     plaintiff’s recovery.”]

Saunders v. T. B. Howard,
   51 Tex. 23 (1879).....................................................................................................................14

     [Plaintiff is not entitled to judgment until all necessary parties are included so that
     their respective equities may be considered and adjudicated.]



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United States v. Joe Grasso & Son, Inc.,
   380 F.2d 749 (5th Cir. 1967) ............................................................................................ passim

     [Federal Rule of Civil Procedure 14 requires that the liability of the third-party be
     dependant on the outcome of the main claim.]

Zimmerman v. Bond,
   392 S.W.2d 149 (Tex. App. 1965) .................................................................................9, 10, 11

     [The inclusion of the primary obligor is a condition precedent to the plaintiff’s right
     to maintain a suit against the guarantor and the burden is on the plaintiff to both plead
     and prove facts as to why the principal obligor was not made a party to the suit.]

     [Plaintiff must add the principal obligor as a defendant or plead and prove facts why
     the principal obligor cannot be joined as a defendant as a condition precedent to
     maintaining a suit against a guarantor]

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          [A party in a case may assert by motion that the case or certain claims should be
          dismissed because there has been a failure to state a claim upon which relief can be
          granted.]

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          [A defendant party may, as a third-party plaintiff, serve a summons and complaint on a
          nonparty who is or may be liable to it for all or part of the claim against it. (Emphasis
          added).]

          [But the third-party plaintiff must, by motion, obtain the court’s leave if it files the third-
          party complaint more than 10 days after serving its original answer.]




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                  I. RELEVANT FACTS AND PROCEDURAL HISTORY

       The instant case arises from a dispute between Plaintiff Lone Star State Development 1,

LLC (“Lone Star”) and Defendant/Counter-Plaintiff Multi-Housing Tax Credit Partners LII, LP

(“MHTCP”) and Defendant/Counter-Plaintiff/Third-Party Plaintiff Multi-Housing Investments,

LLC (“MHI”) related to a partnership agreement for the financing and development of a multi-

family apartment complex located in Amarillo, Texas, and known as Town Parc at Amarillo.

       Lone Star initiated the above matter by filing Plaintiff’s Original Petition And Request

For Injunction with the 97883-D District Court in and for Potter County, Texas, on or about

August 26, 2009. On September 1, 2009, MHTCP and MHI removed the instant case from the

97883-D District Court in and for Potter County, Texas to the United States District Court for the

Northern District of Texas – Amarillo Division. See, Notice Of Removal Of Civil Action

[Docket No. 1]. MHTCP and MHI filed their answer and application for injunctive relief on or

about September 10, 2009. [Docket Number 24]. This Court entered its Order Granting Motion

For Temporary Restraining Order in favor of Lone Star on September 15, 2009, and such

Temporary Restraining Order was extended on September 18, 2009. [Docket Numbers 9 and 12,

respectively]. On September 23, 2009, an Agreed Order Granting Preliminary Injunction was

entered, inter alia, enjoining MHTCP and MHI from removing Lone Star as the general partner

of the partnership, allowing the parties to convert the construction loan to a permanent loan

within 21 days of the date of the order, and allowing Finlay Development, LLC (“Finlay

Development”) to file its complaint in intervention. [Docket Number 15]. Finlay Development

filed its complaint in intervention against MHI and MHTCP on November 16, 2009. [Docket

Number 21]. MHTCP and MHI filed their answer to the complaint in intervention on December

7, 2009. [Docket Number 24].




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       On December 17, 2009, MHI filed its third-party complaint against Christopher Finlay

(“C. Finlay”) and Finlay Holdings, Inc. (“Finlay Holdings”) [C. Finlay and Finlay Holdings are

collectively referred to “Third-Party Defendants”] (the “Third-Party Complaint”). MHI’s Third-

Party Complaint consists of two claims: (1) Equitable Setoff Based On Guaranty Obligations

(First Third-Party Claim) related to a separate and distinct contract regarding the development of

real property located in Paris, Texas; and (2) Equitable Setoff Based On Guaranty Obligations

(Second Third-Party Claim) related to a separate and distinct contract regarding the development

of real property located in Benton Harbor, Michigan. See, Third-Party Complaint at 4-8 [Docket

Number 29]. The above alleged guaranty obligations arise out of contracts and development

projects which are separate and distinct from the partnership agreement which is the basis of

Lone Star’s claims in the instant case and the development agreement which is the basis of

Finlay Development’s claims in intervention. In its Third-Party Complaint, MHI makes no

allegation that Third-Party Defendants would be liable to it if MHI is found liable to Lone Star or

Finlay Development. Id.

       Third-Party Defendants bring this instant motion pursuant to Fed. R. Civ. P. 12(b)(1), (2),

(3), (6) and (7). For the reasons stated below, the Third-Party Complaint should be dismissed.

Accordingly, Third-Party Defendants respectfully request that this Honorable Court dismiss the

Third-Party Complaint.

                                        II. ARGUMENT

               THIRD-PARTY PLAINTIFF’S THIRD-PARTY COMPLAINT
               SHOULD BE DISMISSED PURSUANT TO FED. R. Civ. P. 12(b).

       A.      Third-Party Plaintiff’s Third-Party Complaint Should Be Dismissed
               For Lack Of Jurisdiction. Fed. R. Civ. P. 12(b)(1) and (2).




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                 1.      This Court Lacks Subject Matter Jurisdiction Over The Third-
                         Party Complaint. Fed. R. Civ. P. 12(b)(1).

          In its Third-Party Complaint, MHI fails to plead facts which establish this Court’s subject

matter jurisdiction over the Third-Party Complaint. Third-Party Complaint [Docket Number 29].

Where the plaintiff fails to meet its burden on establishing the Court’s jurisdiction over the

claim, it should be dismissed. Exxon Mobil Corp. v. Allapattah Servs., 545 U.S. 546, 554-555

(2005).

          A federal court has diversity jurisdiction over a suit where: (1) the controversy is between

parties of diverse citizenship, and (2) the amount in controversy exceeds $75,000. 28 U.S.C. §

1332(a). It is the plaintiff’s duty to allege facts showing that the amount in controversy exceeds

$75,000, excluding interest and costs. Id. Where a plaintiff fails to establish the jurisdictional

amount with respect to his own claim, the suit should be dismissed as to those plaintiffs who fail

to show that the requisite amount is involved. Exxon Mobil Corp. v. Allapattah Servs., 545 U.S.

546, 554-555 (2005), citing Clark v. Paul Gray, Inc., 306 U.S. 583 (1939).

          In the instant case, MHI fails to set forth any factual allegations that its third-party claims

against Third-Party Defendants exceed $75,000, excluding interest and costs. See, Third-Party

Complaint. In fact, MHI does not set forth any allegations related to the amount it alleges it is

seeking from C. Finlay and/or Finlay Holdings. Id. Clearly, MHI fails to meet the pleadings

requirements to establish a diversity jurisdiction in this Court related to its Third-Party

Complaint. Exxon Mobil Corp., supra, 554-555; 28 U.S.C. § 1332(a). Because MHI fails to set

forth any factual allegations establishing that its claims against C. Finlay and/or Finlay Holdings

in its Third-Party Complaint is in excess of the statutory requirement of $75,000, the Third-Party

Complaint should be dismissed. Exxon Mobil Corp., supra, 554-555.




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       MHI fails to meet its burden of establishing that its damages exceed $75,000, and,

therefore, its Third-Party Complaint should be dismissed for lack of subject matter jurisdiction.

Id.

               2.      This Court Lacks Personal Jurisdiction Over Third-Party
                       Defendants. Fed. R. Civ. P. 12(b)(2).

       In its Third-Party Complaint, MHI fails to plead facts which establish this Court’s

jurisdiction over the Third-Party Complaint. Third-Party Complaint [Docket Number 29].

Under any circumstance, the facts clearly establish that this Court lacks personal jurisdiction

over C. Finlay and Finlay Holdings. Where a court does not have personal jurisdiction over a

defendant, the case should be dismissed. Fed. R. Civ. P. 12(b)(2).

       The plaintiff has the initial burden of establishing a prima facie case of personal

jurisdiction over Defendants. Wien Air Alaska, Inc. v. Brandt, 195 F.3d 208, 211 (5th Cir. 1999);

Wilson v. Belin, 20 F.3d 644, 648 (5th Cir.), cert. denied, 513 U.S. 930, 130 L. Ed. 2d 282, 115

S. Ct. 322 (1994). The exercise by a court of personal jurisdiction over a nonresident defendant

is consistent with due process when that defendant has purposefully availed himself of the

benefits and protections of the forum state by establishing “minimum contacts” with Texas such

that the defendant could “reasonably anticipate” being haled into court in the forum state, and the

exercise of jurisdiction does not offend “traditional notions of fair play and substantial justice.”

Wien Air Alaska, supra, at 211; Holt Oil & Gas Corp. v. Harvey, 801 F.2d 773, 777 (5th Cir.

1986), cert. denied, 481 U.S. 1015, 95 L. Ed. 2d 499, 107 S. Ct. 1892 (1987). The plaintiff’s

unilateral activities cannot establish minimum contacts between the defendant and the forum

state, especially where the contract does not require performance in the forum state.

Hydrokinetics, Inc. v. Alaska Mech., Inc., 700 F.2d 1026, 1028-29 (5th Cir. 1983). Random,




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fortuitous or attenuated contacts are not sufficient to establish jurisdiction. Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 476 (1985).

       In Moncrief Oil International, Inc. v. OAO Gazprom, 481 F.3d 309 (5th Cir. 2007), the

court held that the plaintiff did not establish jurisdiction in Texas over the defendants because,

inter alia, minimum contacts with the jurisdiction were not established. Moncrief, supra, at 310.

The court found that, as to defendant OAO Zapsibgazprom (“Zapsib”), Texas was not the “hub

of the parties’ activities” in relation to the subject contract. Id. at 312-313. Zapsib’s contractual

duties were performed in Mexico and Russia, while the plaintiff’s duties could be performed

anywhere, as it was an international company, but occurred in Texas where it is headquartered.

Id. The court held that the mere contracting with a Texas company and the plaintiff’s unilateral

actions in Texas were not sufficient contacts to establish jurisdiction. Id.

       In the instant case, MHI has not met its burden of establishing that this Court has

jurisdiction over Third-Party Defendants. Wien Air Alaska, supra, 211. There are no allegations

contained in the Third-Party Complaint regarding to jurisdiction over Third-Party Defendants.

See, Third-Party Complaint [Docket Number 29]. In any event, this Court does not properly

have jurisdiction over C. Finlay and Finlay Holdings. C. Finlay and Finlay Holdings are

residents of Florida, not of Texas. Affidavit Of Christopher C. Finlay (“Finlay Affidavit”) at ¶¶

3 and 6-7, a copy of which is attached as Exhibit B. Neither C. Finlay nor Finlay Holdings

maintain offices in Texas. Id. at ¶¶ 9-11 and 13. Further, neither C. Finlay nor Finlay Holdings

consented to jurisdiction in Texas. Id. at ¶¶ 14-15. Third-Party Defendants do not have the

requisite minimum contact with Texas to impose jurisdiction over them. Wien Air Alaska, supra,

at 211. C. Finlay does not conduct regular and systematic business in Texas. Finlay Affidavit at

¶ 16. Like the defendants in Moncrief neither C. Finlay nor Finlay Holdings were required to




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conduct any activities related to the developer contracts at issued in the Third-Party Complaint in

Texas. Finlay Affidavit at ¶¶ 17-19; Moncrief, supra, at 312-313. The subject developer

agreements merely require Third-Party Defendants in Florida to potentially render payment to

MHI in Colorado, something that Third-Party Defendants are not required to perform in Texas,

but can be performed anywhere. Id. Moreover, MHI is not a Texas company with which Third-

Party Defendants contracted and any unilateral actions it may have taken in Texas is not

sufficient to establish jurisdiction in Texas over Third-Party Defendants. Moncrief, supra, at

312-313.

       Accordingly, this Court should dismiss the Third-Party Complaint for lack of personal

jurisdiction over Third-Party Defendants.

       B.      Venue In The Northern District Of Texas Is Not Proper For The
               Third-Party Complaint. Fed. R. Civ. P. 12(b)(3).

       The Third-Party Complaint does not allege proper venue in this Court and appears to

incorrectly rely on this presumption. As explained below, this Court is not the proper venue for

the third-party claims. 28 USCS § 1391 (a).

       Generally, in diversity cases, venue is established as follows:

               A civil action wherein jurisdiction is founded only on diversity of
               citizenship may, except as otherwise provided by law, be brought
               only in (1) a judicial district where any defendant resides, if all
               defendants reside in the same State, (2) a judicial district in which
               a substantial part of the events or omissions giving rise to the claim
               occurred, or a substantial part of property that is the subject of the
               action is situated, or (3) a judicial district in which any defendant is
               subject to personal jurisdiction at the time the action is
               commenced, if there is no district in which the action may
               otherwise be brought.

28 USCS § 1391 (a).




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       In the instant case, jurisdiction in the Northern District of Texas is improper. As

described above, C. Finlay is not a resident of the State of Texas, but is a resident of Florida. C.

Finlay Affidavit at ¶¶ 3, 6-7 and 12. Further, Finlay Holdings is not incorporated in Texas, nor

does it maintain offices in Texas. Id. at ¶¶ 9-11. Rather, Finlay Holdings is a Florida

corporation with its principal offices in Florida. Id. Clearly, the first test, where defendants

reside, is not met to establish venue in this district. 28 USCS § 1391 (a). Additionally, the

claims asserted by MHI in its Third-Party Complaint involve real property located in Paris,

Texas and in Benton Harbor, Michigan. Third-Party Complaint at 2, ¶ 1 [Docket Number 29].

Paris, Texas is located in Lamar County. Lamar County, Texas is not within the United States

District Court for the Northern District of Michigan’s jurisdiction. Benton Harbor, Michigan

clearly is not within the United States District Court for the Northern District of Texas’

jurisdiction as it is in another state. Clearly, venue over MHI’s asserted third-party claims is not

proper in this Court where the events at issue in the Third-Party Complaint did not occur in this

district and the real properties, which are the subject of the third-party claims, are not located

within this district. 28 USCS § 1391 (a). As described above, the third test to establish venue is

not met as this Court does not have personal jurisdiction over C. Finlay and Finlay Development.

28 USCS § 1391 (a).

       Accordingly, this Court should dismiss the Third-Party Complaint because of lack of

appropriate venue.

       C.      Under Any Circumstance, This Court Should Decline Jurisdiction
               Because It Is An Inconvenient Forum For The Third-Party
               Complaint. Fed. R. Civ. P. 12(b)(1) and (2).

       This Court is an inconvenient forum for the third-party claims against C. Finlay and

Finlay Holdings. A court may decline to exercise its jurisdiction, even if it apparently has




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jurisdiction and venue, where the convenience of the court and the parties and the interests of

justice indicate that another forum is more appropriate. In re Air Crash Disaster Near New

Orleans, La., 821 F.2d 1147, 1155 (5th Cir. 1987), citing Piper Aircraft Co. v. Reyno, 454 U.S.

235, 250 (1981). The Fifth Circuit Court of Appeals has set forth a three part analysis to

determine whether to decline jurisdiction under the doctrine of forum non-conveniens: (1)

whether another forum exists that would provide an adequate remedy; (2) a balance of the

private interests factors;1 and (3) whether the motion to dismiss was timely filed. Baumgart v.

Fairchild Aircraft Corporation, 981 F.2d 824, 835-836 (5th Cir. 1993).

        Here, the instant forum is clearly inconvenient. Clearly, another forum exists where MHI

can receive an adequate remedy for its claims. As discussed in further detail below, a lawsuit is

currently pending in Florida where the same claims and allegations are being brought against C.

Finlay and Finlay Holdings by MHI’s successor in interest. MHI clearly has an opportunity to

obtain relief, if it still has an interest in its alleged claims, as a plaintiff in that matter without

resorting to duplicative litigation in this forum. Further, the “public interests” factors weigh in

favor of this Court declining to exercise its jurisdiction over this matter. C. Finlay and Finlay

Holdings maintain offices in Duval County, Florida. Finlay Affidavit at ¶¶ 10-11. Their books

and records containing the relevant documents related to the Third-Party Complaint are

maintained in their Florida offices. Id. at ¶ 21. Additionally, the potential witnesses on behalf of

C. Finlay and Finlay Holdings with knowledge regarding the allegations in the Third-Party

Complaint all reside and work in Florida. Id. at ¶ 20. This Court would likely have difficulties

obtaining process over any unwilling witnesses that reside outside of this Court’s jurisdiction.


1
 The private interests factors include: (1) ease of access to sources of proof; (2) availability of
compulsory process for attendance of unwilling witnesses and cost to attendance; and (3) other
factors affecting the ease, speed and expense of the trial. Baumgart, supra, at 335-336, citing In
re Air Crash Disaster, supra, at 1162-1163.


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MHI is not a resident of Texas and this forum is no more convenient for it than is Florida.

Clearly, for the speed, expense and ease of trial, Duval County, Florida is a more appropriate

venue for the claims contained in the Third-Party Complaint. Baumgart, supra, at 835-836.

Moreover, any judgment rendered by this Court would need to be adopted by the Florida courts

to be enforceable against C. Finlay and Finlay Holdings, another public interest factor which

weighs in favor of this Court declining to exercise jurisdiction over the Third-Party Complaint.

Id. at 836. Additionally, the motion to dismiss was timely filed as C. Finlay’s and Finlay

Holdings’ response to the Third-Party Complaint. It is clearly appropriate for this Court to

decline to exercise jurisdiction over the Third-Party Complaint based on the doctrine of forum

non-conveniens.

       Moreover, the claims asserted by MHI against C. Finlay and Finlay Holdings related to

the projects in Paris, Texas and Benton Harbor, Michigan are currently being adjudicated in a

case filed with the Circuit Court, Fourth Judicial Circuit, In And For Duval County Florida, and

to which MHI’s successor-in-interest is a party. On or about October 17, 2007, Simpson

Housing Solutions, LLC initiated a civil action against C. Finlay, Finlay Holdings and Finlay

Properties, Inc. by filing their summons and complaint in the Circuit Court, Fourth Judicial

Circuit, In And For Duval County Florida, assigned Case Number 16-2007-CA-009482 (the

“Florida Lawsuit”). On or about August 29, 2008, by Order of the court in the Florida Lawsuit,

Simpson Housing Solutions, LLC was granted leave to file its amended complaint. The

amended complaint included the addition of several plaintiffs. Consent Order Granting

Plaintiff’s Motion For Leave To File Amended Complaint and accompanying Amended

Complaint is attached as Exhibit C. The named plaintiffs pursuant to the amended complaint

include Multi-Housing Tax Credit Investments. XXXVII, LLC, successor to MHI. Id. The




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named defendants in the amended complaint are C. Finlay and Finlay Holdings. Id. Count II

and Count III of the Amended Complaint in the Florida Lawsuit are the exact same claims MHI

is asserting in its in the Third-Party Complaint against C. Finlay and Finlay Holdings. Compare

Third-Party Complaint at 4-6 [Docket Number 29] to Exhibit C. These claims are still pending

before the Florida court and have not been dismissed. Particularly where the Third-Party claims

against C. Finlay and Finlay Holdings are pending in another jurisdiction, this Court should

decline to exercise jurisdiction over MHI’s instant third-party claims.

       Clearly, it is appropriate for this Court to decline to exercise jurisdiction over the Third-

Party Complaint.

       D.      Third-Party Plaintiff’s Third Party Complaint Should Be Dismissed
               For Failure To State A Claim. Fed. R. Civ. P 12(b)(6).

               1.      Third-Party Plaintiff’s Third-Party Complaint Is Improper
                       Because It Is Not Derivative Of The Main Claims In The
                       Instant Matter.

       MHI filed a Third-Party Complaint against C. Finlay and Finlay Holdings containing two

claims for “equitable setoff” based on alleged guarantees related to contracts separate and

distinct from the partnership agreement and development on which the original and intervenor

claims against MHI are based, respectively. Third Party Complaint at 4-8 [Docket Number 29].

MHI’s Third-Party Complaint is improper under Fed. R. Civ. P. 14(a)(1) and should be

dismissed where MHI’s claims against C. Finlay and Finlay Holdings are not derivative of the

claims against MHI. United States of America v. Grasso, 380 F.2d 749, 751-752 (5th Cir. 1967).

       Pursuant to Fed. R. Civ. P. 14(a)(1):

               A defendant party may, as a third-party plaintiff, serve a summons
               and complaint on a nonparty who is or may be liable to it for all
               or part of the claim against it. …




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(Emphasis added). The Fifth Circuit Court of Appeals explicitly held that a third-party

complaint is improper under Rule 14 if “the defendant cannot show a basis for the third-party

defendant’s liability to the defendant/third-party plaintiff.” McCain v. Clearview Dodge Sales,

Inc., 574 F.2d 848, 849-850 (5th Cir. 1978); Grasso, supra, at 752 (“[T]he third party must

necessarily be liable over to defendant for all or part of plaintiff’s recovery”). An entirely

separate and independent claim cannot be maintained against a third-party under Rule 14 even if

it arises out of the same general set of facts as the main claim. Grasso, supra, at 751, citing

Horn v. Daniel, 315 F.2d 471, 474 (10th Cir. 1962), and Kohn v. Teleprompter Corp., 22 FRD

259 (S.D. N.Y. 1958). Federal Rule of Civil Procedure 14 requires that the liability of the third-

party be dependant on the outcome of the main claim. Grasso, supra, at 752.

        In HEI Resources East OMG Joint Venture v. S. Lavon Evans, Jr. Operating Co., Inc.,

2009 U.S. Dist. LEXIS 81730 (S.D. Tex. Sept. 9, 2009), defendant S. Lvon Evans, Jr. Operating

Co., Inc. and related parties (the “Evans Parties”) filed a third-party complaint against Heartland

Energy Land Operating , LP, Heartland Energy of Colorado, LLC, HEI Resources, Inc. and Reed

Cagle (the “Heartland Parties”) for breach of contract. HEI Resources East, supra, at *1-4; a

copy of HEI Resources East is attached as Exhibit A. The Evans Parties’ breach of contract

claim against the Heartland Parties was separate and distinct from the plaintiff’s claim. Id. at *5.

The district court, on its own motion, ordered the third-party plaintiffs and defendants to show

cause why the third-party complaint should not be dismissed. Id. at *4. The Evans Parties

argued that its third-party claim should proceed because the plaintiff and the Heartland Parties

were “so interrelated” that any resulting judgment against the Heartland Parties would off-set the

Evans Parties’ liability to the plaintiff. Id. at *5. The district court held that the third-party

complaint was improper under Fed. R. Civ. P. 14 because the Evans Parties’ claims against the




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Heartland Parties were not derivative of the plaintiff’s fraud and theft claims. Id. at *6. The

district court held that a third-party claim must be derivative of the outcome of the main claim

and bring in parties that may be liable to the defendant if the defendant is found liable to the

plaintiff. Id. at *5-6. The district court further held that Rule 14 does not allow a party to assert

an unrelated claim for the purpose of offsetting the defendants’ liability to the plaintiff. Id. at *6.

The district court dismissed the Evans Parties’ third-party complaint, without prejudice. Id. at

*7.

       The instant case is strikingly similar to HEI Resources East. Like the Evans Parties, MHI

named as third-party defendants an individual and an entity which are allegedly related to Lone

Star and Finlay Development. Third-Party Complaint at 3, ¶ 3 [Docket Number 29]; HEI

Resources East, supra, at * 5. Similar to the Evans Parties, MHI is seeking to “setoff” its

potential liability by alleging claims against third-parties for claims arising from distinct and

separate agreements than the partnership agreement which is the basis for Lone Star’s initial

claim and the developer agreement on which Finlay Development’s claim is based. Third-Party

Complaint at 4-8 [Docket Number 29]; HEI Resources East, supra, at *5-6. Further, MHI, like

the Evans Parties, does not allege that Third-Party Defendants are liable to it for any portion of

Lone Star’s and Finlay Development’s claims against MHI. See, Third-Party Complaint [Docket

Number 29]. Federal Rule of Civil Procedure 14(a)(1) clearly requires that a third-party claim be

derivative of the main claim in the case and that the third-party is one that may be liable to the

defendant for all or part of the plaintiff’s recovery against the defendant. Grasso, supra, at 751-

752; McCain, supra, at 879-850; HEI Resources East, supra, at *5-6. Contrary to the above

clearly stated rules of third-party practice, MHI does not assert a derivative claim against Third-

Party Defendants, but an improper, unrelated claim for the purpose of offsetting its liability to




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Lone Star and/or Finlay Development. This is improper under the applicable court rules. HEI

Resources East, supra, at *6 (“Rule 14 does not state that a defendant may bring in a third-party

who is affiliated with the plaintiff, and who allegedly owes money to the defendant on an

unrelated claim, for the purpose of offsetting defendant’s liability to plaintiff”). MHI’s Third-

Party Complaint is clearly improper under Fed. R. Civ. P. 14(a)(1) and should be dismissed.

       MHI’s Third-Party Complaint is clearly not derivative of the complaint in intervention

asserted by Finlay Development. Finlay Development’s complaint in intervention contains three

counts against MHI and MHTCP: (1) breach of contract (Count I); (2) declaratory judgment

(Count II); and (3) injunctive relief (Count III), in connection with the developer agreement

related to the Town Parc at Amarillo project. See, Finlay Development LLC’s Original

Complaint In Intervention [Docket Number 21]. Once again, MHI does not allege that Third-

Party Defendants are liable to it for any portion of Finlay Development’s claims against MHI.

See, Third-Party Complaint [Docket Number 29]. Federal Rule of Civil Procedure 14(a)(1)

clearly requires that a third-party claim be derivative of the main claim in the case and that the

third-party is one that may be liable to the defendant for all or part of the plaintiff’s recovery

against the defendant. Grasso, supra, at 751-752; McCain, supra, at 879-850; HEI Resources

East, supra, at *5-6. The guarantees on which MHI is seeking relief are separate and distinct

from the developer agreement Finlay Development’s claims against MHI are based. Contrary to

the clearly stated rules of third-party practice, MHI does not assert a derivative claim against

Third-Party Defendants, but an improper, unrelated claim for the purpose of offsetting its

liability to Finlay Development. This is improper under the applicable court rules. HEI

Resources East, supra, at *6 (“Rule 14 does not state that a defendant may bring in a third-party

who is affiliated with the plaintiff, and who allegedly owes money to the defendant on an




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unrelated claim, for the purpose of offsetting defendant’s liability to plaintiff”). MHI’s Third-

Party Complaint is clearly improper under Fed. R. Civ. P. 14(a)(1) and should be dismissed.

          A defendant may only assert a third-party claim where the nonparty is liable to the

defendant for all or part of the plaintiff’s claim asserted against it. Fed. R. Civ. P. 14(a)(1);

Grasso, supra, at 751-752; McCain, supra, at 879-850; HEI Resources East, supra, at *5-6. In

the instant case, MHI does not allege that Third-Party Defendants are liable to it for the damages

sought by Lone Star or Finlay Development. See, Third-Party Complaint [Docket Number 29].

Rather, MHI alleges an unrelated claim against Third-Party Defendants for the purpose of

offsetting its liability to Lone Star and/or Finlay Development. Id. at 4-8. The claims asserted

by MHI are clearly improper as third-party claims. Fed. R. Civ. P. 14(a)(1); Grasso, supra, at

751-752; McCain, supra, at 879-850; HEI Resources East, supra, at *6 (“Rule 14 does not state

that a defendant may bring in a third-party who is affiliated with the plaintiff, and who allegedly

owes money to the defendant on an unrelated claim, for the purpose of offsetting defendant’s

liability to plaintiff”). Therefore, dismissal of MHI’s Third-Party Complaint by this Court is

proper.

                 2.      Third-Party Plaintiff Is Not Entitled To Equitable Relief.

                         a)     Third-Party Plaintiff’s Equitable Setoff Claim Is
                                Improper Where Mutuality Does Not Exist.

          In its Third-Party Complaint, MHI seeks equitable setoff to the claims alleged against it

in the instant matter from claims it alleges against C. Finlay and Finlay Holdings. Third Party

Complaint [Docket Number 29]. MHI’s equitable setoff claims are improper and should be

dismissed where there is no mutuality between the claims alleged against it by Finlay

Development and/or Lone Star and the obligations MHI claims it is owed by C. Finlay and




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Finlay Holdings. Capital Concepts Properties 85-1 v. Mutual First, Inc., 35 F3d 170, 175 (5th

Cir. 1994).

       Equitable setoff is a form of counterclaim which, “bring[s] together obligations of the

parties opposing each other and, by judicial action, makes each obligation extinguish the other.”

Capital Concepts, supra, at 175, citing 67 Tex. Jur. 3d § 3 Setoffs, Counterclaims and Cross

Actions (1989). The object of equitable setoff is to adjust the demands between the parties and

allow recovery of the balance due. Capital Concepts, supra, at 175, citing Anderson v. Vinson

Exploration, Inc., 832 S.W.2d 657, 666 (Tex. App. 1998, writ denied). In order for equitable

setoff to exist, both demands must mutually exist between the same parties. Capital Concepts,

supra, at 175; Brook Mays Organ Co., Inc. v. Sondock, 551 S.W.2d 160, 166 (Tex. Civ. App.

1977); Dallas/Fort Worth Airport Bank v. Dallas Bank & Trust Co., 667 S.W.2d 572, 575 (Tex.

App. 1984).

       In the instant case, there is no mutuality between the equitable setoff claims raised by

MHI and the claims asserted by Lone Star and/or Finlay Development against MHI. As detailed

above, MHI’s setoff claims are brought against C. Finlay and Finlay Holdings related to alleged

guarantees arising from separate and distinct contracts from the one at issue in the present matter.

See Third-Party Complaint [Docket Number 29]. The equitable setoff claims alleged by MHI in

the Third-Party complaint do not arise from obligations which are allegedly mutually owed

between MHI and Lone Star and/or Finlay Development. Id. Rather, they are separate and

distinct obligations allegedly owed by third parties unrelated to the main claims in this case. Id.

This is clearly improper under the applicable law. Capital Concepts, supra, at 175; Brook Mays,

supra, at 166; Dallas/Fort Worth Airport Bank, supra, at 575. MHI’s equitable setoff claims




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must be dismissed where reciprocity of obligation does not exist. Capital Concepts, supra, at

175 (Reciprocity of obligation is required to assert equitable setoff).

       Accordingly, MHI is not entitled to relief through equitable setoff and the Third-Party

Complaint should be dismissed.

                       b)      In Any Event, Third-Party Plaintiff Is Not Entitled To
                               Equitable Relief Where A Remedy At Law Exists.

       MHI asserts a claim for equitable relief against C. Finlay and Finlay Holdings related to

amounts allegedly owed to MHI arising from guarantees executed by C. Finlay and Finlay

Holdings. Third-Party Complaint [Docket Number 29]. It is a fundamental precept of law that a

party is not entitled to equitable relief where an adequate remedy at law exists. See e.g., Cable v.

United States Life Insurance Company, 191 U.S. 288, 302 (1903); Frost Nat'l Bank v. Burge, 29

S.W.3d 580, 596 (Tex. App. 2000); Rogers v. Daniel Oil & Royalty Co., 130 Tex. 386 (1937).

       In the instant case, MHI’s equitable setoff claims are based on amounts it claims are due

and owing by C. Finlay and Finlay Holdings arising out of two developer guarantees they signed

related to distinct and separate contracts and projects from the basis of the original claims in this

lawsuit. As described in detail above, such claims are improper as third-party and equitable

setoff claims. In any event, an adequate remedy law clearly exists for MHI alleged claims

against C. Finlay and Finlay Holdings. Frost Nat'l Bank, supra, at 596; Rogers, supra, at 386. If

amounts are, in fact, owed to MHI from C. Finlay and/or Finlay Holdings based on the alleged

developer guarantees, MHI can be fully and adequately compensated at law by a court

determining the amounts owed and ordering payment of such amounts to MHI. Clearly, where

adequate monetary relief at law is available, MHI is not entitled to equitable relief against C.

Finlay and Finlay Holdings.




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                       c)      Third-Party Plaintiff Cannot Obtain Equitable Relief
                               For Amounts Owed By A Non-Party To The Instant
                               Action.

       In its Third-Party Complaint, MHI alleges that it is entitled to equitable setoff against C.

Finlay and Finlay Holdings as guarantors for amounts allegedly owed to MHI by Finlay GP 14

and Finlay GP 21. Third-Party Complaint at 4, ¶ 7 and at 6, ¶ 19 [Docket Number 29].

However, neither Finlay GP 14 nor Finlay GP 21 are parties to the instant action, as MHI readily

admits. Id. MHI cannot obtain equitable relief against C. Finlay and Finlay Holdings where

necessary parties, Finlay GP 14 and Finlay GP 21, are not parties to the instant matter. See,

Saunders v. T. B. Howard, 51 Tex. 23, 26 (1879) (Plaintiff is not entitled to judgment until all

necessary parties are included so that their respective equities may be considered and

adjudicated). As necessary parties are not included in the instant matter, namely Finlay GP 14

and Finlay GP 21, the equities of all of the indispensable parties to this action cannot be

determined and MHI is not entitled to equitable relief. Id. Therefore, MHI’s Third-Party

Complaint should be dismissed.

       E.      Third-Party Plaintiff’s Complaint Should Be Dismissed For Failure
               To Join All The Necessary Parties. Fed. R. Civ. P. 12(b)(7).

       MHI’s Third-Party Complaint contains two counts of “Equitable Setoff Based On

Guaranty Obligations” against C. Finlay and Finlay Holdings. Third-Party Complaint at 4-8

[Docket Number 29]. In its Third-Party Complaint, MHI does not name the primary obligors to

the debts C. Finlay and Finlay Holdings allegedly guarantied as third-party defendants. Id. MHI

is required to name the primary obligor as a defendant to the instant action, and obtain a

judgment against the primary obligor, in order to obtain a judgment against C. Finlay and Finlay

Holdings on any guaranty of such obligation. Tex. Civ. Prac. & Rem. § 17.001.




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        Texas statutory law requires that the principal obligor be made a party to a lawsuit, and

found liable for such debt, or else a judgment cannot be rendered against a guarantor or surety.

Tex. Civ. Prac. & Rem. § 17.001. Specifically, the applicable statute states:

               (a) Except as provided in this section, the acceptor of a bill of
               exchange or a principal obligor on a contract may be sued alone or
               jointly with another liable party, but a judgment may not be
               rendered against a party not primarily liable unless judgment is
               also rendered against the principal obligor.

Tex. Civ. Prac. & Rem. § 17.001(a). The inclusion of the primary obligor is a condition

precedent to the plaintiff’s right to maintain a suit against the guarantor and the burden is on the

plaintiff to both plead and prove facts as to why the principal obligor was not made a party to the

suit. Zimmerman v. Bond, 392 S.W.2d 149, 151 (Tex. App. 1965), quoting Republic Supply Co.

v. Barrow, 41 S.W.2d 457, 477 (Tex. App. 1931).2 If the plaintiff does not provide competent

proof of the stated reasons to exclude the principal obligor, the suit must be abated. Id.

        In Zimmerman, the plaintiff initiated a lawsuit against S. Mort Zimmerman

(“Zimmerman”) for his guaranty of a loan made to Blue Sewanee Development Corporation

(“Blue Sewanee”). Zimmerman, supra, at 150. The plaintiff did not name Blue Sewanee as a

plaintiff in the lawsuit. In his amended answer and plea for abatement, Zimmerman argued that

the case must be dismissed because the plaintiff failed to name Blue Sewanee as a defendant,

which is a necessary party as the principal obligor to the note at issue. Id. The Texas Court of

Appeals held that the plaintiff was required to add the principal obligor as a defendant, or plead

and prove facts why the principal obligor could not be joined as a defendant, as a condition

precedent to maintaining a suit against Zimmerman as a guarantor. Id. at 151. The court held

that the plaintiff did not meet the requirements of the above condition precedent to maintaining a


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 Pursuant to the Erie Doctrine, this Court must apply Texas’ substantive law in diversity cases,
such as this one, where no substantive federal law is at issue.


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suit against Zimmerman and that the trial Court should have granted Zimmerman’s plea in

abatement. Id. at 151-152.

       The instant case is similar to Zimmerman. In its Third-Party Complaint, MHI alleges that

C. Finlay and Finlay Holdings signed two Developer Guaranty agreements in 2002, one related

to Finlay Interests 14 Limited Dividend Housing Association, Limited Partnership (“Finlay 14”)

and one related to Finlay Interests 21, L.P. (“Finlay 21”). Third-Party Complaint at 3, ¶ 4

[Docket Number 29]. MHI admittedly does not name Finlay 14 or Finlay 21 as third-party

defendants in the instant Third-Party Complaint. Id. In its first third-party claim, MHI seeks to

enforce alleged guaranty obligations against C. Finlay and Finlay Holdings for outstanding

amounts allegedly owed by Finlay Interests GP 21, LLC (“Finlay GP 21”), the alleged principal

obligor, arising out of a “Project Agreement.” Id. at 4, ¶ 7. Finlay GP 21 is admittedly not

named as a party to the Third-Party Complaint. Id. Further, MHI does not plead any reason why

Finlay 21 or Finlay GP 21 are not named as third-party defendants to the instant action. Id. at 4-

6. Likewise, in its second third-party claim, MHI seeks to enforce an alleged guaranty obligation

against C. Finlay and Finlay Holdings for alleged amounts due and owing by Finlay Interests GP

14, LLC (“Finlay GP 14”), the alleged principal obligor, arising from a second “Project

Agreement.” Id. at 6, ¶ 19. Finlay GP 14 is admittedly not named as a party to the Third-Party

Complaint. Id. Once again, MHI does not plead any reason why Finlay 14 or Finlay GP 14 are

not named as third-party defendants to the instant action. Id. at 6-8. MHI clearly does not meet

the condition precedent of either naming the principal obligor to the suit, or pleading and proving

that the principal obligor cannot be made a party to the suit, required to maintain a suit to enforce

the alleged guarantees against C. Finlay and Finlay Holdings. Tex. Civ. Prac. & Rem. § 17.001;




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Zimmerman, supra, at 151; Republic Supply, supra, at 477. Dismissal of MHI’s Third-Party

Complaint against C. Finlay and Finlay Holdings is clearly proper. Id.

       Clearly, MHI failed to join the principal obligors in this matter. Therefore, dismissal of

MHI’s Third-Party Complaint is clearly appropriate.

                       III. CONCLUSION AND REQUESTED RELIEF

       Accordingly, Third-Party Defendants, Christopher Finlay and Finlay Holdings, Inc.,

respectfully request that this Honorable Court enter an Order providing the following relief:

             A. Granting Third-Party Defendants’ Motion To Dismiss Third-Party Complaint;

             B. Dismissing Third-Party Plaintiff Multi-Housing Investments, LLC’s third-party

complaint against Third-Party Defendants Christopher Finlay and Finlay Holdings, Inc., with

prejudice;

             C. Awarding Third-Party Defendants Christopher Finlay and Finlay Holdings, Inc.

their costs and attorney fees incurred from responding to the Third-Party Complaint; and

             D. Awarding any other relief this Court deems just and equitable.

                                              Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 19, 2010, a true and correct copy of the

above and foregoing, was served on all counsel of record via the Court’s ECF systems,

including:


       Marvin W. Jones, Esq.
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